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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF FLORIDA
                            PENSACOLA DIVISION

UNITED STATES OF AMERICA

       VS                                                    CASE NO. 3:08cr22LAC

GARY LAKEY

                               REFERRAL AND ORDER

Referred to Senior Judge Lacey A. Collier on: January 7, 2009
Motion/Pleadings: Motion in Limine
Filed by Defendant                          on 1/7/2009       Doc.#  444
RESPONSES:
                                            on                Doc.#
                                            on                Doc.#
        Stipulated            Joint Pldg.
        Unopposed             Consented
                                            WILLIAM M. McCOOL, CLERK OF COURT

                                          s/Mary Maloy
LC (1 OR 2)                             Deputy Clerk: Mary Maloy

                                      ORDER
Upon   consideration    of   the   foregoing,   it   is   ORDERED     this   15 th   day   of
January, 2009, that:
(a) The relief requested is DENIED.
(b) See trial record.



                                                          s /L.A. Collier
                                                      LACEY A. COLLIER
                                            Senior United States District Judge
